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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                 PALM BEACH DIVISION

   UNITED STATES OF AMERICA,                         )
                                                     )
              Plaintiff,                             )     Case No. 9:21-cv-80779-AMC
                                                     )
              v.                                     )
                                                     )
   104 ANDOVER COURT LLC,                            )
   RH FUND XX, LLC,                                  )
   DAVID M. FERRIS,                                  )
   OCEAN CITY LOFTS CONDOMINIUM                      )
   ASSOCIATION, INC., and                            )
   PALM BEACH COUNTY TAX                             )
   COLLECTOR,                                        )
                                                     )
              Defendants.                            )

               NOTICE OF SETTLEMENT AND JOINT REQUEST FOR STAY

         Plaintiff United States of America and Defendant 104 Andover Court LLC (collectively,

  “the parties”) hereby notify the Court that they have reached a settlement agreement that, if

  complied with, could resolve all issues before the Court in this case. In recognition of the

  November 5, 2021, deadline the Court has set for responses to the United States’ pending motion

  for summary judgment, the parties request that the Court stay briefing on the motion for

  summary judgment to allow the parties to comply with their obligations under the settlement

  agreement. Assuming the settlement is implemented, the United States will dismiss this action.


  /s/                                                    /s/
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                                                         LLC
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                                    CERTIFICATE OF SERVICE

                                         4 day of November, 2021, I electronically filed the
          I hereby certify that on this __th

  foregoing document with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all ECF filers.


                                                   /s/ Bradley A. Sarnell
                                                   BRADLEY A. SARNELL
                                                   Trial Attorney
                                                   United States Department of Justice, Tax Division
